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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE


ELEIWA & SONS, INC., d/b/a
BEAUTY SECRET, a/k/a
BEAUTY SUPPLY,

               Plaintiff,

Vs.                                                         NO. 2:09-cv-02086-SHM-dkv
                                                            JURY DEMANDED

PEERLESS INDEMNITY INSURANCE
COMPANY, d/b/a MONTGOMERY
INSURANCE COMPANY, d/b/a INDIANA
INSURANCE COMPANY,

               Defendant.


                             ORDER OF DISMISSAL
______________________________________________________________________________

       IT APPEARING TO THE COURT that the matters and things in controversy have been

amicably compromised and settled and that the case should be dismissed on the merits with

prejudice;

       IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that all claims brought

by the Plaintiff, Eleiwa & Sons, Inc., d/b/a Beauty Secret a/k/a K&F Beauty Supply, are hereby,

dismissed with prejudice. Each party is to pay their own costs and attorneys’ fees.


                                              s/ Samuel H. Mays, Jr.                        .
                                             SAMUEL H. MAYS, JR.
                                             UNITED STATES DISTRICT JUDGE

                                             Date: April 29, 2009                           .
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APPROVED:


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